Case 2:22-cv-12757-SFC-APP ECF No. 5-1, PageID.45 Filed 11/21/22 Page 1 of 3




                UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN

STRIKE 3 HOLDINGS, LLC,                 )
                                        )
           Plaintiff,                   ) Civil Case No. 2:22-cv-12757-SFC-APP
                                        )
v.                                      )
                                        )
JOHN DOE subscriber assigned IP         )
Address 76.122.149.206,                 )
                                        )
           Defendant.                   )
                                        )

DECLARATION OF SUSAN B. STALZER IN SUPPORT OF PLAINTIFF’S
MOTION FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR
              TO A RULE 26(f) CONFERENCE




                  [Remainder of page intentionally left blank]




                                      i
                                  EXHIBIT C
Case 2:22-cv-12757-SFC-APP ECF No. 5-1, PageID.46 Filed 11/21/22 Page 2 of 3




  DECLARATION OF SUSAN B. STALZER IN SUPPORT OF PLAINTIFF'S MOTION
    FOR LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(0 CONFERENCE

I, Susan B. Stalzer, do hereby state and declare as follows:

         1.     My name is Susan B. Stalzer. I am over the age of 18 and am otherwise competent

to make this declaration.

         2.     This declaration is based on my personal knowledge and, if called upon to do so, I

will testify that the facts stated herein are true and accurate.

         3.     I work for Strike 3 Holdings, LLC ("Strike 3") and review the content of their

motion pictures.

         4.     I hold a Bachelor's degree and Master's degree in English from Oakland

University.

         5.     I have a long history of working in the fine arts, with an emphasis on writing,

including having served as an adjunct professor of composition and literature.

         6.     I am familiar with Strike 3's plight with online piracy and its determination to

protect its copyrights.

         7.     I was tasked by Strike 3 with verifying that each infringing file identified as a

motion picture owned by Strike 3 on torrent websites was in fact, either identical, strikingly similar

or substantially similar to a motion picture in which Strike 3 owns a copyright.

         8.    Strike 3 provided me with digital media files to compare with Strike 3' s copyrighted

works.

         9.    Based on the Declaration of David Williamson, I understand that Strike 3 obtained

each digital media file using the VXN Sean's Torrent Collector and Downloader components.




Declaration of Susan B. Stalzer in Support of Plaintiff's Motion for Leave to Serve a Third Party
                          Subpoena Prior to a Rule 26(f) Conference

MIED-1328-DETR
Case 2:22-cv-12757-SFC-APP ECF No. 5-1, PageID.47 Filed 11/21/22 Page 3 of 3




       10.     I viewed each of the digital media files side-by-side with Strike 3 's motion pictures,

as published on the Blacked, Blacked Raw, Slayed, Tushy, Tushy Raw, and/or Vixen websites and

enumerated on Exhibit A by their United States Copyright Office identification numbers.

       11.     Each digital media file is a copy of one of Sttike 3' s motion pictures that is identical,

strikingly similar, or substantially similar to the original work identified by their United States

Copyright Office identification numbers on Exhibit A to the Complaint.



                                         DECLARATION

       PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
laws of the United States 1��ca lh•t     going),1 true an�ect
                                     _!�
       Executed on this      day o�e,� , 202 .
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                                       SUS
                                             �
                                   c;;;���--r




Declaration of Susan B. Stalzer in Support of Plaintiff's Motion for Leave to Serve a Third Party
                          Subpoena Prior to a Rule 26(f) Conference

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